       Case 8:18-cv-00883-DLB           Document 36        Filed 08/07/18     Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


AMERICAN ACADEMY OF
PEDIATRICS, et al.,

                   Plaintiffs,

         v.                                          Civil Action No. 8:18-cv-883-PWG

UNITED STATES FOOD AND DRUG
ADMINISTRATION, et al.,

                   Defendants.


                        DEFENDANTS’ MOTION TO DISMISS
               OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

       For the reasons set forth in the accompanying memorandum of law, Defendants

respectfully move to dismiss this action or, in the alternative, for summary judgment on all

claims raised in Plaintiffs’ complaint. See Fed. R. Civ. P. 12, 56.


Dated: August 7, 2018                              Respectfully submitted,

Of counsel:                                        BRETT A. SHUMATE
                                                   Deputy Assistant Attorney General
ROBERT P. CHARROW
General Counsel                                     /s/ Eric Beckenhauer                       .
Food and Drug Division                             ERIC B. BECKENHAUER
Office of General Counsel                          MICHELLE R. BENNETT
U.S. Dep’t of Health and Human Services            Trial Attorneys
                                                   U.S. Department of Justice
LOWELL J. SCHILLER                                 Civil Division, Federal Programs Branch
Acting Chief Counsel                               20 Massachusetts Ave. NW
                                                   Washington, DC 20530
ANNAMARIE KEMPIC                                   (202) 514-3338
Deputy Chief Counsel for Litigation                (202) 616-8470 (fax)
                                                   eric.beckenhauer@usdoj.gov
WENDY S. VICENTE
Senior Counsel                                     Counsel for Defendants
Office of the Chief Counsel
      Case 8:18-cv-00883-DLB   Document 36   Filed 08/07/18   Page 2 of 2



Food and Drug Administration
10903 New Hampshire Avenue
White Oak 31, Room 4562
Silver Spring, MD 20993-0002




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